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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF IOWA

                                                        )
UNITED STATES OF AMERICA,                               )   Case No.   4:20-MJ-589
                                                        )
               v.                                       )
                                                        )   [FILED UNDER SEAL]
JASON RAY TINGLEY,                                      )
                                                        )

      I, Andrew S. Becker, being first duly sworn, hereby depose and state as follows:

                    INTRODUCTION AND AGENT BACKGROUND

      1.       I make this affidavit in support of a criminal complaint. It is intended

merely to show that there is sufficient probable cause for the requested complaint

and does not set forth all of my knowledge about this matter.

      2.       I am a Narcotics Investigator within the Des Moines Police

Department’s Vice & Narcotics Control Section and have been so since March 2018.

Prior to my assignment as a Narcotics Investigator, I held police officer positions

within the following sections of the Des Moines Police Department: first watch patrol

(9pm-7am), airport unit, the Summer Enforcement Team, and the Metropolitan

Special Tactics and Response Entry Team. During my law enforcement career, I have

participated in numerous investigations involving the unlawful distribution of

narcotics and firearms-related crimes in violation of federal and state laws, which led

to arrests, convictions of violators, and seizures of narcotics and proceeds gained from

illegal activity. During the course of my duties, I have conducted or participated in

physical and electronic surveillance, undercover transactions, the execution of search

warrants, debriefing of informants, interviews of witnesses, and reviews of recorded


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        By: Clerk’s Office, Southern District of Iowa
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conversations involving drug trafficking and firearms activities. I am a graduate of

the twenty-two (22) week Des Moines Police Academy that commenced on October 25,

2010.

        3.       I have also attended the following educational courses/training

seminars reference drug and weapon investigations:

             •   Advanced Roadside Impaired Driving Enforcement (16 hours) sponsored
                 by Des Moines Regional Police Academy (2012)

             •   Tactical Warrant Service School (24 hours) sponsored by Midwest
                 Counter Drug Training Center (MCTC) (2012)

             •   Interview and Interrogation (40 Hours) sponsored by MCTC (2014)

             •   Street Crimes Seminar (21 hours) sponsored by Des Moines Regional
                 Police Academy (2014)

             •   Reid & Associates Interview and Interrogation (24 hours) sponsored by
                 Reid Institute (2015)

             •   Tactical Narcotics Debriefing (16 hours) sponsored by MCTC (2018)

             •   Narcotics Investigations (24 hours) sponsored by the Iowa Narcotics
                 Officers Association (INOA) (2018, 2019)

             •   Clandestine Laboratory Safety Certification (40 hours) sponsored by
                 MCTC (2018)

             •   Methamphetamine Investigations (24 hours) sponsored by MCTC (2019)

             •   Development, Management, and Control of Drug Informants (24 Hours)
                 sponsored by MCTC (2019)

             •   Cellebrite Mobile Forensics Fundamentals (14 Hours) sponsored by Des
                 Moines Regional Police Academy (2020)

             •   Cellebrite Certified Operator (14 Hours) sponsored by Des Moines
                 Regional Police Academy (2020)

             •   Cellebrite Certified Physical Analyst (21 Hours) sponsored by Des
                 Moines Regional Police Academy (2020).




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      4.     I know from my previous training and experience that pursuant to

Title 18, United States Code, Section 922(g)(1) and 922(g)(3), it is unlawful for a

person who is knowingly convicted of a crime punishable by more than one year or is

an unlawful user of or addicted to any controlled substances, as defined in 21 U.S.C.

§ 802, to knowingly ship, transport, possess, or receive a firearm or ammunition in

interstate or foreign commerce.

      5.     The facts in this affidavit come from my personal observations, my

training and experience, and information obtained from other law enforcement

officers and witnesses.

      6.     Based on the facts in this affidavit, there is probable cause to believe

that Jason Ray TINGLEY has committed violations of Title 21, United States Code,

Section 841(a)(1) and 841(b)(1)(A) (possession with intent to distribute a controlled

substance); Title 18, United States Code, Section 922(g)(1), 922(g)(3), and 924(a)(2)

(prohibited person in possession of a firearm); and Title 18, United States Code,

Section 924(c)(1)(A) (possession of a firearm in furtherance of drug trafficking crime).

                                PROBABLE CAUSE

      7.     On September 30, 2020, at approximately 6:45 a.m., members of the Des

Moines Police Narcotics Unit (DMPD-NCU) executed a federal search warrant for

Jason Ray TINGLEY’s known residence at 933 18th Street, Apt 12, Des Moines, Iowa.

Members of DMPD-NCU secured the apartment and found that TINGLEY was not

present. No other occupants were present.




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      8.     A search of the apartment yielded approximately 289 grams of

methamphetamine, approximately 12 grams of marijuana, multiple digital scales

with methamphetamine residue, drug paraphernalia, narcotics packaging (Ziploc

bags), and indicia consistent with narcotics distribution, such as notebooks with what

appear to be drug notes. The methamphetamine was stored in a container in the oven

in the kitchen.

      9.     Officers also located a Smith and Wesson M&P Shield, 9mm, pistol with

Serial number HLL 3835, concealed in a couch in the living room. The pistol had

three (3) live rounds in the inserted magazine and an empty chamber. The pistol was

found to be stolen out of Butler County, Kansas.

      10.    Apartment 12 is a one-bedroom apartment. The living room, where the

gun was found, and the kitchen, where the meth was found, are in close proximity.

      11.    This affiant knows that a large quantity of methamphetamine, here

approximately 289 grams, along with digital scales and narcotics packaging (Ziploc

bags) are consistent with the packaging and sale of drugs, and specific to this

investigation, methamphetamine. Further, based on my training, experience, and

investigation, methamphetamine in the Des Moines-market tends to be actual

methamphetamine, rather than methamphetamine mixture. Therefore, probable

cause exists to believe that of the 289 grams found in TINGLEY’s residence it

contains greater than 50 grams of actual methamphetamine.

      12.    This affiant further knows drug users and/or traffickers often maintain

possession of a firearm near their supply of drugs.       This practice is generally




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undertaken to have immediate access to a firearm to protect the drugs from robbery

attempts and/or theft. Further, it is common for prohibited persons to obtain stolen

firearms because they are unable to lawfully obtain them.

        13.   During the search of the apartment a Black Apple iPhone in a black and

green case was also located in the living room of the residence, seized, and searched.

        14.   Further, a shipping label with the name Jason TINGLEY and an

address of 933 18th Street, Apartment 12, Des Moines, Iowa was located within the

residence. Other paperwork for Jason TINGLEY was located in the apartment as

well.

                          ADDITIONAL INFORMATION

        15.   A review of TINGLEY’s criminal history shows that he has prior felony

convictions, including convictions for Theft 1st Degree and Operating While

Intoxicated Third Offense. In addition, TINGLEY is currently on parole for operating

while under the influence 2nd offense, operating while intoxicated 3rd or subsequent

offense, and eluding.

        16.   In 2013, TINGLEY was also convicted of possession of a controlled

substance, a serious misdemeanor, in the Iowa District Court for Polk County.

        17.   According to the apartment manager, TINGLEY was the sole lessee of

Apartment 12 at the time of the search warrant on September 30, 2020.

        18.   On or about October 21, 2020, TINGLEY was arrested on an

outstanding parole warrant and booked into the Polk County jail.




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      19.    A preliminary examination of the Smith and Wesson M&P9 firearm

(serial number HLL3835) has been conducted by an interstate nexus expert with the

Bureau of Alcohol, Tobacco, Firearms, and Explosives. This preliminary examination

revealed that the firearm was manufactured outside the state of Iowa and therefore

traveled in interstate commerce. Additionally, the firearm meets the definition of a

firearm, pursuant to 18 U.S.C. § 921(a)(3).

                                   CONCLUSION

      20.    Based on facts and circumstances described above, I believe there is

probable cause to believe that Jason Ray TINGLEY possessed methamphetamine

with the intent to distribute it, in violation of Title 21, United States Code, Section

841(a)(1) and 841(b)(1)(A); possessed a firearm as a prohibited person, namely a felon

and drug user, in violation of Title 18, United States Code, Sections 922(g)(1),

922(g)(3), and 924(a)(2); and possessed a firearm in furtherance of a drug trafficking

crime, in violation of Title 18, United States Code, Section 924(c)(1)(A).




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      I further state and declare that all of the statements and information contained

herein are true and correct to the best of my knowledge, information, and belief.



                                   __________________________________________
                                   Andrew S. Becker, Narcotics Investigator
                                   Des Moines Police Department


      This application and affidavit were presented to me by Assistant United States

Attorney MacKenzie Benson Tubbs.

      Subscribed and sworn to before me this 23rd day of October, 2020, by reliable

electronic means.


                                   __________________________________________
                                   Honorable Celeste F. Bremer
                                   United States Magistrate Judge




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